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     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
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 4   Sacramento, California 95814
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 5
     Attorney for Defendant
 6   GUSTAVO MONTES VASQUEZ
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-07-360 EJG
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   GUSTAVO MONTEZ VASQUEZ, ET AL )
                                     )     Date:    January 11, 2008
15                  Defendants.      )
                                     )     Time: 10:00 a.m.
16   _______________________________ )     Judge: Hon. Edward J. Garcia
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18
           It is hereby stipulated between the parties, Heiko Coppola,
19
     Assistant United States Attorney, Caro Marks, attorney for defendant
20
     Gustavo Montez Vasquez, and Michael Long, attorney for defendant
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     Benjamin Lozano Rosas, as follows:
22
          The Status Conference date of November 30, 2007 should be
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     continued until January 11, 2008. The reason for the continuance is
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     that the defense has not yet completed its inspection of the discovery
25
     in this case. Also, both defense counsel and counsel for the United
26
     States will be out of the jurisdiction on Friday, November 30, 2007.
27
          Therefore the parties stipulate and agree on a continuance until
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 1   January 11, 2008.
 2         IT IS STIPULATED that the period from the signing of this Order up
 3   to and including January 4, 2008 be excluded in computing the time
 4   within which trial must commence under the Speedy Trial Act, pursuant
 5   to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 6   preparation of counsel.
 7   Dated: November 28, 2007                    Respectfully submitted,
 8                                             DANIEL BRODERICK
                                               Federal Defender
 9
                                               /s/ Caro Marks
10                                              ________________________
                                               CARO MARKS
11                                             Assistant Federal Defender
                                               Attorney for Defendant
12                                             GUSTAVO MONTES VASQUEZ
13   Dated: November 28, 2007
                                               /s/ Michael Long
14                                             ________________________
                                               MICHAEL LONG, ESQ.
15                                             Attorney for Defendant
                                               BENJAMIN LOZANO ROSAS
16
17   Dated:     November 28, 2007              MCGREGOR SCOTT
                                               United States Attorney
18
19                                              /s/ Heiko Coppola
                                               _________________________
20                                             HEIKO COPPOLA
                                               Assistant U.S. Attorney
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22                                           ORDER
23             UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
24   ordered that the status conference presently set for November 30, 2007,
25   be continued to January 11, 2008, at 10:00 a.m.            Based on the
26   representation of defense counsel and good cause appearing therefrom,
27   the Court hereby finds that the failure to grant a continuance in this
28   case would deny defense counsel reasonable time necessary for effective


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 1   preparation, taking into account the exercise of due diligence.        The
 2   Court finds that the ends of justice to be served by granting a
 3   continuance outweigh the best interests of the public and the defendant
 4   in a speedy trial.      It is ordered that time from this date to, and
 5   including, the January 11, 2008 status conference shall be excluded
 6   from computation of time within which the trial of this matter must be
 7   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
 8   3161(h)(8)(A) and (B)(iv) and Local Code T-4, to allow defense counsel
 9   time to prepare.
10   Dated: November 28, 2007
11                                           /s/ Edward J. Garcia
                                             EDWARD J. GARCIA
12                                           Senior United States District Judge
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     Stip & Order/Gustavo Montes Vasquez    -3-
